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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA,
No. 1:24-cr-108
Plaintiff,
Vv.

KAUSHALKUMAR CHAUDHARY, Hon. ROBERT J. JONKER
U.S. District Judge
Defendant.
/

PLEA AGREEMENT

This constitutes the plea agreement between Kaushalkumar Chaudhary and
the United States Attorney’s Office for the Western District of Michigan. The terms
of the agreement are as follows:

1. Defendant Agrees to Plead Guilty. Defendant agrees to plead guilty to

the Indictment. The Indictment charges Defendant with conspiracy to commit wire
fraud in violation of Title 18, United States Code, Section 1349.

2. Defendant Understands the Crime. In order for Defendant to be guilty

of violating Title 18, United States Code, Section 1349, the following must be true:
(1) two or more persons conspired, or agreed, to commit the crime of wire fraud, that
is, to use wire communications in interstate or foreign commerce to knowingly and
intentionally carry out a scheme to defraud others of money or property through
material misrepresentations or concealment of material facts; (2) Defendant
knowingly and voluntarily joined the conspiracy. Defendant is pleading guilty

because Defendant is guilty of the conspiracy charge described above.
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3. Defendant Understands the Penalty. The statutory maximum
sentence that the Court can impose for a violation of Title 18, United States Code,
Section 1349, is the following: 20 years of imprisonment; a 3-year period of
supervised release; a fine of $250,000, or twice the gross gain or gross loss resulting
from the offense, whichever is greater; and a mandatory special assessment of $100.

4, Assessments, Restitution, Other Criminal Monetary Penalties, and

Financial Cooperation.

a. Assessment. Defendant agrees to pay the special assessment on
the day of sentencing.

b. Restitution. Defendant acknowledges the Court will order
restitution as required by law. Defendant agrees that a crime against property under
Tile 18 gave rise to this plea agreement. Pursuant to Title 18 U.S.C. Section
3663A(a)(3), Section 3663A(c)(2) and Section 3663(a)(3), Defendant agrees to pay
restitution for losses to all victims, including victims of the count of conviction and
victims of uncharged relevant conduct in which Defendant has been involved,
including all victims of the fraud schemes described in the factual basis and all
similar schemes in which the defendant was involved, including those occurring
before or after the scheme described herein. This includes victims who have not yet
been identified or who are otherwise unknown to the government. The parties
currently believe that the applicable amount of restitution is approximately
$550,000.00, but recognize and agree that this amount could change based on facts

that come to the attention of the parties prior to sentencing. The Court will determine
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the final amount at sentencing. Defendant agrees to pay restitution to the fullest
extent possible at or before the time of sentencing by submitting funds to the Clerk

of Court.

Cc. Financial Cooperation. Defendant also:

i. agrees to fully and truthfully complete and return the financial
disclosure form the U.S. Attorney’s Office provides, including any waivers, consents,
or releases requested to access records to verify the financial information within 30
days of the date of this plea agreement;

ii. agrees that any restitution or other criminal monetary penalties
imposed by the Court shall be due and payable immediately, any payment plan set
by the Court represents a minimum payment obligation, and the United States may
immediately enforce the judgment in full; and

iil. agrees that prior to sentencing and until criminal monetary
penalties are paid in full, he will not sell or give away any asset worth $5,000 or
more, without first notifying the U.S. Attorney’s Office. Defendant also agrees to
notify the U.S. Attorney’s Office of any proceeding, such as foreclosure or divorce,
that may impact Defendant’s financial condition.

5. Removal from the United States. Defendant understands that the

conviction in this case may subject Defendant to removal from the United States,
denial of citizenship, and/or denial of admission to the United States in the future.

6. Asset Forfeiture and Financial Accountability. Defendant agrees to

disclose to law enforcement officials the whereabouts of, the Defendant’s ownership
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interest in, and all other information known to Defendant about, all assets, money or
property of any kind, derived from or acquired as a result of, or used to facilitate the
commission of Defendant’s illegal activities. Defendant agrees to assist and cooperate
in the recovery of all monies, property, or assets derived from, or acquired as a result
of the offense charged in the Indictment Defendant further agrees to forfeit all rights,
title, and interest in and to such items.

Defendant agrees to entry of a forfeiture money judgment in favor of the United
States in an amount to be determined by the Court and that represents the proceeds
Defendant obtained as a result of his commission of the offense charged in the
Indictment.

Defendant consents to the forfeiture of substitute property pursuant to 21
U.S.C. § 853(p). Defendant acknowledges that the proceeds he obtained, directly or
indirectly from his participation in the conspiracy to commit wire fraud, were
commingled with personal assets and spent on daily living expenses and other
personal expenditures and cannot be located upon the exercise of due diligence; have
been transferred or sold to, or deposited with, a third party; and have been placed
beyond the jurisdiction of the court.

The parties further agree that Defendant should receive credit against the
forfeiture money judgment sought by the United States for all funds Defendant pays
as restitution with the Clerk of the Court prior to the time of sentencing. Accordingly,

for all funds the Defendant deposits with the Clerk of the Court as restitution prior
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to sentencing, the Government will move for a commensurate reduction in
Defendant’s forfeiture money judgment.

The U.S. Attorney’s Office agrees to submit a restoration request to the
Department of Justice Money Laundering and Asset Recovery Section for the
application of any proceeds from such forfeited property towards Defendant’s
restitution order. Defendant acknowledges that the Department of Justice Money
Laundering and Asset Recovery Section has the sole authority to grant or deny the
restoration request and that the submission of such a request by the U.S. Attorney’s
Office does not guarantee that such request will be granted.

7 Factual Basis of Guilt. Defendant and the U.S. Attorney’s Office agree

and stipulate to the following statement of facts which need not be proven at the
time of the plea or sentencing:

From a time unknown but from beginning no later than in or about
June 2028, to in or about July 2024, Defendant agreed with M.S., and others
known and unknown, to carry out a wire fraud conspiracy originating in
India and other places within and outside the United States targeting
primarily elderly victims in the United States. As part of the conspiracy,
individuals in India, and co-conspirators within the United States, used the
internet, email platforms like Google’s Gmail, and cellular phone
communications to contact victims. During these communications, the co-
conspirators made materially false representations to the victims through a
variety of fraud schemes. These schemes included that the victim’s social
security account number had been compromised, that they were under
federal investigation for money laundering or drug trafficking, or some other
false reason as to why the victim should convert his or her financial holdings
into cash, gold and/or silver. The co-conspirators regularly misrepresented to
the victims that they were members of the Federal Bureau of Investigation,
Federal Trade Commission, Federal Communications Commission, or other
government agencies or law enforcement and that they could assist the
victims in protecting their money.
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On many occasions, Defendant’s co-conspirators directed the victims to
mail them cash or to wire money to the U.S. Money Reserve to convert their
funds into gold or silver. Once the victims agreed to convert their financial
holdings into cash, gold and/or silver, the co-conspirators contacted
Defendant through WhatsApp (a messaging platform) and cellular telephone
calls and directed Defendant to travel to the victims’ homes or a defined
meet-up location to pick up the cash, gold and/or silver. The co-conspirators
then directed Defendant to take the fraud proceeds to designated locations.
Co-conspirators at these locations then paid Defendant his share of the
proceeds and transmitted the remaining fraud proceeds to the co-conspirators
within and outside of the United States.

In early July 2024, Victim D.M.H. wired approximately $70,000.00
from her credit union in the Western District of Michigan to the U.S. Money
Reserve located outside of Michigan, to purchase gold at the direction of the
conspirators. At a later date, on or about July 31, 2024, co-conspirators
outside the United States directed Defendant to travel from Chicago, Illinois,
to Battle Creek, Michigan, within the Western District of Michigan. Co-
conspirators, including M.S., provided Defendant with the address and
directions to victim D.M.H.’s home through WhatsApp communications that
traveled in interstate commerce. Defendant picked up what he believed was
$100,000 in gold bars from the victim at her home before he was arrested.

As part of the conspiracy, Defendant additionally picked up fraud
proceeds from the following currently identified victims as part of his
participation in the wire fraud conspiracy. Defendant agrees that his
involvement with these victims as part of the conspiracy constitutes relevant
conduct for his sentencing pursuant to U.S.S.G. § 1B1.3:

Date (on or Victim State
about)

6/26/2023 S.G. Ohio
7/12/2023 M.R. New York
8/9/2023 J.K. Illinois
9/11/2023 S.W. Wisconsin
10/12/2023 and LJ. Illinois
10/14/2023

11/7/2023 T.B. Tlliniois
7/16/2024 M.W. Kansas
7/22/2024 D.E. Iowa
7/31/2024 J.B. Indiana

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8. Acceptance of Responsibility. The U.S. Attorney’s Office agrees not to

oppose Defendant’s request for a two-level reduction of his offense level for
acceptance of responsibility under Section 3E1.1(a) of the Sentencing Guidelines.
However, the U.S. Attorney’s Office reserves the right to object to Defendant’s
request if it subsequently learns of conduct by Defendant that is inconsistent with
the criteria set forth in the Commentary to Section 3E1.1. Should the Court grant
a two-level reduction as provided herein, the Government will move the Court to
grant an additional one-level reduction if the adjusted offense level is 16 or greater
pursuant to Section 3E1.1(b).

9. Non-Prosecution Agreement. The U.S. Attorney’s Office for the

Western District of Michigan agrees, except for crimes of violence and criminal tax
violations (including conspiracy to commit such violations chargeable under 18
U.S.C. § 371), not to further prosecute Defendant for violations of 18 U.S.C. § 1349
(conspiracy to commit financial fraud) or 18 U.S.C. § 1348 (wire fraud) arising out of
Defendant’s participation in the conspiracy described in the factual basis above.
Defendant understands that the U.S. Attorney’s Office is free to prosecute
Defendant for any other unlawful past conduct or any unlawful conduct that occurs
after the date of this agreement.

10. The Sentencing Guidelines. Defendant understands that, although the

United States Sentencing Guidelines (the “Guidelines”) are not mandatory, the
Court must consult the Guidelines and take them into account when sentencing

Defendant. Defendant understands that the Court, with the aid of the presentence
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report, will determine the facts and calculations relevant to sentencing. Defendant
understands that Defendant and Defendant’s attorney will have the opportunity to
review the presentence report and to make objections, suggestions, and
recommendations concerning the calculation of the Guideline range and the
sentence to be imposed. Defendant further understands that the Court shall make
the final determination of the Guideline range that applies in this case, and may
impose a sentence within, above, or below the Guideline range, subject to the
statutory Choose an item. penalties described elsewhere in this Agreement.
Defendant further understands that disagreement with the Guideline range or
sentence shall not constitute a basis for withdrawal of the plea.

11. The Parties Jointly Agree to the Following:

a. Stipulations Regarding Guideline Factors. Defendant and the

U.S. Attorney’s Office agree and stipulate to the following applicable Sentencing

Guidelines factors:

Base Offense Level 7 USSG § 2B1.1(a)
Specific Offense At least +14 USSG § 2B1.1(b)(1)(H)
Characteristic —

sentencing loss of more
than $550,000*

Specific Offense +2 USSG § 2B1.1(b)(10)(B)
Characteristic — or (C)

substantial part of fraud
committed from outside
the United States and/or
sophisticated means

Adjustment — Chapter 3 | +2 USSG § 3A1.1(b)(1)
— Vulnerable Victims

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*At this point, the parties dispute the total amount of loss caused by Defendant’s
role in the conspiracy. Defendant contends that the loss caused by his jointly
undertaken criminal activity is more than $550,000.00, but does not exceed
$1,500,000.00. The government agrees that the loss is more than $550,000.00, but
is uncertain of the upper limit of the sentencing loss because its investigation of the
sentencing loss associated with the victims identified in the factual basis above and
other victim leads disclosed to Defendant at the time of this plea agreement
continues. The government has informed Defendant that it is possible that the
sentencing loss could exceed $3,500,000.00, resulting in an additional 4-level
increase to his sentencing guidelines, but that the final sentencing loss amount may
not be determined until the sentencing hearing based on additional facts that come
to the attention of the parties.

Defendant and the U.S. Attorney’s Office each reserve the right to argue that
additional specific offense characteristics, adjustments and departures are
appropriate, notwithstanding that the parties have not stipulated to their scoring.
The government has informed Defendant that it believes that additional specific
offense characteristics will likely apply, including: 10 or more victims or substantial
harm to 1 or more victims (USSG § 2B1.1(b)(2)(A)); and, false representations that
the conspirators were acting on behalf of a governmental agency (USSG §

2B1.1(b)(9)(A)).

b. Stipulations Regarding Criminal History. There is no

agreement as to the Defendant’s criminal history or criminal history category.
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c. Stipulations Not Binding in Court. The Defendant understands
that neither the United States Probation Office nor the Court is bound by any
stipulation in this agreement, and that the Court, with the aid of the presentence
report, will determine the facts and calculations relevant to sentencing. Both the
Defendant and the U.S. Attorney’s Office are free to supplement the facts stipulated
to in this agreement by supplying relevant information to the United States
Probation Office and the Court, and to correct any and all factual misstatements
relating to the calculation of the sentence. Defendant understands that if the Court
finds facts or reaches conclusions different from those in any stipulation contained
in this agreement, Defendant cannot, for that reason alone, withdraw his guilty
plea.

12. Waiver of Constitutional Rights. By pleading guilty, Defendant gives

up the right to persist in a plea of not guilty and the right to a speedy and public
trial by jury or by the Court. As a result of Defendant’s guilty plea, there will be no
trial. At any trial, whether by jury or by the Court, Defendant would have had the
following rights:

a. The right to the assistance of counsel, including, if Defendant
could not afford an attorney, the right to have the Court appoint an attorney to
represent Defendant.

b. The right to be presumed innocent and to have the burden of
proof placed on the Government to prove Defendant guilty beyond a reasonable

doubt.

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c. The right to confront and cross-examine witnesses against
Defendant.

d. The right, if Defendant wished, to testify on Defendant’s own
behalf and present evidence in opposition to the charges, including the right to call
witnesses and to subpoena those witnesses to testify.

e. The right not to be compelled to testify, and, if Defendant chose
not to testify or present evidence, to have that choice not be used against
Defendant.

f. By pleading guilty, Defendant also gives up any and all rights to
pursue in this Court or on appeal any affirmative defenses, Fourth Amendment or
Fifth Amendment claims, and other pretrial motions that have been filed or could
be filed.

13. Waiver of Appellate Rights. Defendant gives up his right to appeal his

conviction, sentence, or any other matter relating to this prosecution on any ground.

14. FOIA Requests. Defendant hereby waives all rights, whether asserted

directly or by a representative, to request or receive from any department or agency
of the United States any records pertaining to the investigation or prosecution of
this case, including without limitation any records that may be sought under the
Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of 1974, 5 U.S.C. §

552a.

15. The Court is not a Party to this Agreement. Defendant understands

that the Court is not a party to this agreement and is under no obligation to accept

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any recommendation by the U.S. Attorney’s Office or the parties regarding the
sentence to be imposed. Defendant further understands that, even if the Court
ignores such a recommendation or imposes any sentence up to the maximum
established by statute, Defendant cannot, for that reason, withdraw his guilty plea,
and he will remain bound to fulfill all of his obligations under this agreement.
Defendant understands that no one—not the prosecutor, Defendant’s attorney, or
the Court—can make a binding prediction or promise regarding the sentence
Defendant will receive, except that it will be within the statutory maximum.

16. This Agreement is Limited to the Parties. This agreement is limited to

the U.S. Attorney’s Office for the Western District of Michigan, and cannot bind any
other federal, state or local prosecuting, administrative or regulatory authority.
This agreement applies only to crimes committed by Defendant. This agreement
does not apply to or preclude any past, present, or future forfeiture or civil actions.

17. Consequences of Breach. If Defendant breaches any provision of this

agreement, including any promise of cooperation, whether before or after
sentencing, the United States shall have the right to terminate this agreement, or
deny any or all benefits to which Defendant would otherwise be entitled under the
terms of this agreement. In the event that the United States elects to terminate
this agreement, the agreement shall be considered null and void, and the parties
shall return to the same position they were in prior to the execution of this
agreement, as though no agreement ever existed. In such an event, Defendant shall

remain liable for prosecution on all original charges, and the United States shall be

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free to bring such additional charges as the law and facts warrant. Defendant
further agrees to waive and forever give up his right to raise any claim that such a
prosecution is time-barred if the prosecution is brought within one (1) year of the
breach that gives rise to the termination of this agreement.

18. This is the Complete Agreement. This agreement has been entered

into by both sides freely, knowingly, and voluntarily, and it incorporates the
complete understanding between the parties. No other promises have been made,
nor may any additional agreements, understandings or conditions be entered into
unless in a writing signed by all parties or on the record in open court.

19. English Version of Agreement Controls. Defendant agrees that, if

there are any discrepancies between the English version and the Gujarati
translation of this agreement, the English version controls.

20. Deadline for Acceptance of Agreement. Ifa copy of this agreement,

executed by Defendant and defense counsel, is not returned to the U.S. Attorney’s
Office by 12/13/2024, this agreement will be withdrawn automatically and will
thereafter have no legal effect or force, unless the U.S. Attorney’s Office, in its sole

discretion, chooses to accept an executed agreement after that date.

MARK A. TOTTEN

United States Attorney
(2/12 24 LisGeeee-

Date RONALD M. STELLA
Assistant United States Attorney

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AEH:

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I have read this agreement and carefully discussed every part 0 it with my
attorney. I understand the terms of this agreement, and I voluntarily agree to
those terms. My attorney has advised me of my rights, of possible de’ nses, of the
sentencing provisions, and of the consequences of entering into this agreement. No
promises or inducements have been made to me other than those contained in this
agreement. No one has threatened or forced me in any way to enter into this
agreement. Finally, I am satisfied with the representation of my atto-ney in this
matter.

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Date KAUSHALKUMAR CHAUDHARY,
Defendant

I am Kaushalkumar Chaudhary’s attorney. I have carefully disc ussed every
part of this agreement with my client. Further, I have fully advised m 7 client of his
rights, of possible defenses, of the sentencing provisions, and of the cor sequences of
entering into this agreement. To my knowledge, my client’s decision t:: enter into
this agreement is an informed and voluntary one.

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Date’ 4 NICHOLAS ¥; DQNDARLS
Attorney for Defendant

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